          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:00CR6-1


UNITED STATES OF AMERICA                    )
                                            )
                                            )
            VS.                             )        ORDER
                                            )
                                            )
CLARK PROCTOR, JR.                          )
                                            )


      THIS MATTER is before the Court on the Defendant’s motion to alter

or amend this Court’s Order filed April 5, 2007, denying his motion for the

return of property.

      On review of the motion to alter or amend, the Defendant fails to

state any new argument or facts which would warrant a change in the

Court’s ruling, and the motion is denied.

      IT IS, THEREFORE, ORDERED that the Defendant’s motion to alter

or amend is hereby DENIED.




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                                 Signed: April 23, 2007




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